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                  EXHIBIT B
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 Upstart fires back at Oracle in legal battle - MarketWatch




      MarketWatch
     March 29, 2010, 1:51 p.m. EDT

      Upstart fires back at Oracle in legal baffle
     By John Letzing, MarketWatch

     SAN FRANCISCO (MarketWatch) -- Rimini Street Inc., a company that’s made a business out of providing bargain-
     priced maintenance and support to Oracle Corp. customers, filed a countersuit Monday against the business-
     software giant.

     Rimini Street announced that it’s filed suit against Redwood Shores, Calif-based Oracle (NASDAQ:ORCL) in U.S. District
     Court for the District of Nevada, alleging copyright misuse, defamation, disparagement, trade libel and unfair competition
     under the California Business and Professions Code.

                                                                 Separately on Monday, Rimini Street said it also has filed a response to a
                                                                 suit lodged against it by Oracle in January. "Oracle and its predecessors
                                                                 began a systematic campaign to disrupt and halt Rimini Street’s business
                                                                 since the inception of the company in 2005," the Las-Vegas-based
                                                                 company said in a statement. "As Rimini Street’s success grew, so did
                                                                 Oracle’s apparent determination and efforts to disrupt Rimini Street’s
                                                                 growth."

                                                                 Oracle had alleged in its lawsuit that Rimini Street’s business depends on
                                                                 illegally downloading Oracle’s software support materials, "in a scheme
     To Outsource, or Not                                        that is vast in scope."
     Outsourcing investment-management functions can help
     advisers or invite more scrutiny from regulators. Michael   A spokeswoman for Oracle, Deborah Hellinger, said in a statement
     Stier, president and CEO, Adhesion Wealth Advisor           Monday that Oracle is "committed to customer choice and vigorous
     Solutions speaks with reporter Suzanne Barlyn.              competition, but draws the line with any company, big or small, that steals
                                                                 its intellectual property."

     In reference to Rimini Street Chief Executive Seth Ravin, Hellinger added: "The massive theft that Rimini and Mr. Ravin
     engaged in is not healthy competition."

     Ravin is a former employee at PeopleSoft Inc., which Oracle acquired through a hostile takeover in 2004.

     Rimini Street said in its statement that it doubled its workforce in 2009 to 160 employees, and "accumulated nearly $150
     million in sales backlog" serving both large and small firms.

     In addition, Rimini Street has begun offering support for software sold by Oracle rival SAP AG (NYSE:SAP)

    Support and maintenance businesses are key for both Oracle and SAP.

    In its most recent earnings report, Oracle said that license update and support revenue in the quarter ended in February
    rose 13% to $3.3 billion, or 60% of the company’s total revenue in the period.

    In general, customers who purchase software from Oracle are charged a recurring maintenance fee equal to roughly one-
    fifth the value of software license. The maintenance fees provide a reliable source of revenue even in challenging times,


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      such as the recent economic downturn.

      An attempt by SAP-owned TomorrowNow Inc. to provide more affordable maintenance for Oracle software also ended in
      litigation in 2007. SAP was later forced to shutter the U.S.-based unit. See related story about TomorrowNow.

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